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AO 245B (CO Rev. 11/20)     Judgment in a Criminal Case



                                       UNITED STATES DISTRICT COURT
                                                                 District of Colorado
                                                                            )
               UNITED STATES OF AMERICA                                     )    JUDGMENT IN A CRIMINAL CASE
                                 v.                                         )
                                                                            )
                      LEONARD LUTON                                         )    Case Number:         1:19-cr-00098-CMA-1
                     a/k/a: Leonard L. Luton                                )    USM Number:          45133-013
                                                                            )
                                                                            )    Mark Edward Scabavea
                                                                            )    Defendant’s Attorney
THE DEFENDANT:
    pleaded guilty to count(s)
    pleaded nolo contendere to count(s)
    which was accepted by the court.
    was found guilty on count(s)      1-3 and 5-10 of the Superseding Indictment
    after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section            Nature of Offense                                                                      Offense Ended          Count
18 U.S.C. § 1349           Conspiracy to Commit Mail Fraud                                                           01/22/19               1
18 U.S.C. §§ 1341 and 2 Aiding and Abetting Mail Fraud                                                               03/29/18               2
18 U.S.C. §§ 1341 and 2 Aiding and Abetting Mail Fraud                                                               04/03/18               3
18 U.S.C. §§ 1341 and 2 Aiding and Abetting Mail Fraud                                                               07/27/18               5
18 U.S.C. §§ 1341 and 2 Aiding and Abetting Mail Fraud                                                               09/06/18               6
18 U.S.C. §§ 1341 and 2 Aiding and Abetting Mail Fraud                                                               09/25/18               7
    The defendant is sentenced as provided in pages 2 through                  8            of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
    The defendant has been found not guilty on count(s)           4 of the Superseding Indictment
    Count(s)                                                is          are dismissed on the motion of the United States.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                       August 4, 2021
                                                                       Date of Imposition of Judgment




                                                                       Signature of Judge




                                                                       Christine M. Arguello, United States District Judge
                                                                       Name and Title of Judge

                                                                          8/10/2021
                                                                      Date
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 DEFENDANT:                   LEONARD LUTON
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                                                        ADDITIONAL OFFENSES

Title & Section                Nature of Offense                                        Offense Ended    Count
18 U.S.C. §§ 1341 and 2        Aiding and Abetting Mail Fraud                              10/22/18        8
18 U.S.C. §§ 1341 and 2        Aiding and Abetting Mail Fraud                              10/30/18        9
18 U.S.C. §§ 1341 and 2        Aiding and Abetting Mail Fraud                              11/07/18       10
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 DEFENDANT:                   LEONARD LUTON
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                                                            IMPRISONMENT
 The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of: one hundred and
 eight (108) months, as to each count, concurrent.



           The court makes the following recommendations to the Bureau of Prisons:




           The defendant is remanded to the custody of the United States Marshal.

           The defendant shall surrender to the United States Marshal for this district:
                  at                                             a.m.           p.m.   on                                                  .
                  as notified by the United States Marshal.

           The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                  before 2 p.m. on                                         .
                  as notified by the United States Marshal.
                  as notified by the Probation or Pretrial Services Office.

                                                                  RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                            to

 at                                                 , with a certified copy of this judgment.



                                                                                                    UNITED STATES MARSHAL



                                                                               By
                                                                                                 DEPUTY UNITED STATES MARSHAL
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 DEFENDANT:                   LEONARD LUTON
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                                                     SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of: three (3) years, as to each count, concurrent.




                                                    MANDATORY CONDITIONS

1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and a maximum of 20 tests per year of supervision thereafter.
                  The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                  substance abuse. (check if applicable)
4.         You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
           restitution. (check if applicable)
5.         You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.         You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
           directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
           reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.         You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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                                        STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
      time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
      the court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
      was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
      tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may, after
      obtaining Court approval, notify the person about the risk or require you to notify the person about the risk and you must comply
      with that instruction. The probation officer may contact the person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                     Date
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 DEFENDANT:                   LEONARD LUTON
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                                          SPECIAL CONDITIONS OF SUPERVISION
 1.   If not deported, you must not incur new credit charges or open additional lines of credit without the approval of the probation officer,
      unless you are in compliance with the periodic payment obligations imposed pursuant to the Court’s judgment and sentence.
 2.   If not deported, as directed by the probation officer, you must apply any monies received from income tax refunds, lottery winnings,
      inheritances, judgments, and any anticipated or unexpected financial gains to the outstanding court-ordered financial obligation in
      this case.
 3.   If not deported, you must make payment on the restitution obligation that remains unpaid at the commencement of supervision.
      Within 60 days of the commencement of supervision, you must meet with the probation officer to develop a plan for the payment of
      the obligation. This plan will be based upon your income and expenses. You must work with the probation officer in development of
      a monthly budget that will be reviewed with the probation officer quarterly.
 4.   If not deported, and if you have an outstanding financial obligation, the probation office may share any financial or employment
      documentation relevant to you with the Asset Recovery Division of the United States Attorney's Office to assist in the collection of
      the obligation.
 5.   If not deported, you must document all income and compensation generated or received from any source and must provide that
      information to the probation officer as requested.
 6.   If not deported, you must not conduct any foreign financial transactions without the advance approval of the probation officer.
 7.   If you are deported, you must not thereafter re-enter the United States illegally. If you re-enter the United States legally, you must
      report to the nearest U.S. Probation Office within 72 hours of your return.
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 DEFENDANT:                   LEONARD LUTON
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                                              CRIMINAL MONETARY PENALTIES
       The defendant must pay the total criminal monetary penalties under the schedule of payments on the following page.

                       Assessment                   Restitution                Fine                   AVAA Assessment*          JVTA Assessment**
Counts 1 - 3       $ 300.00                    $
Counts 5-10        $ 600.00                    $
TOTALS             $ 900.00                    $ 884,947.41                  $ 0.00             $ 0.00                     $ 0.00

    The determination of restitution is deferred until                        . An Amended Judgment in a Criminal Case (AO 245C) will be entered
    after such determination.

    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid. Disbursement of restitution payments sent to victims and returned to the Clerk of Court as unclaimed or
    undeliverable shall be deposited into the Court’s registry and disbursed to the remaining victims.

Name of Payee                                                       Total Loss***                Restitution Ordered           Priority or Percentage
S.O.                                                                  $881,447.41                         $881,447.41
S.P.                                                                         $3,500.00                       $3,500.00




TOTALS                                                        $              884,947.41           $          884,947.41
    Restitution amount ordered pursuant to plea agreement                $

    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
    fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the following page may be
    subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

          the interest requirement is waived for the              fine           restitution.

          the interest requirement for the           fine          restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Publ. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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 DEFENDANT:                   LEONARD LUTON
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                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A          Lump sum payment of $                                 due immediately, balance due

                  not later than                                     , or
                  in accordance with          C,            D,              E, or        F below; or

B          Payment to begin immediately (may be combined with                       C,        D, or             F below); or

C          Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                           (e.g., months or years), to commence                           (e.g., 30 or 60 days) after the date of this judgment; or

D          Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                           over a period of
                           (e.g., months or years), to commence                           (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E          Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F          Special instructions regarding the payment of criminal monetary penalties:
           The special assessment and restitution shall be paid immediately. Any unpaid monetary obligations upon release from
           incarceration shall be paid in monthly installment payments during the term of supervised release. The balance of the monetary
           obligations shall be paid in monthly installment payments calculated as at least 10 percent of the defendant’s gross monthly
           income.

          Each victim shall receive an approximately proportional payment based on the victim’s share of the total loss. Disbursement of
          restitution payments sent to victims and returned to the Clerk of Court as unclaimed or undeliverable shall be deposited into the
          Court’s registry and disbursed to the remaining victims.
Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

      Joint and Several
      Case Number
      Defendant and Co-Defendant Names                                                                                       Corresponding Payee, if
      (including defendant number)                               Total Amount       Joint and Several Amount                       appropriate
      1:19-cr-00098-CMA-1, Leonard Luton                                $884,947.41                  $4,750.00                        S.O.
      1:19-cr-00207-RBJ-1, Stacy Byfield                                  $4,750.00                  $4,750.00                        S.O.

      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant’s interest in the following property to the United States: a personal money judgment in the
      amount of $484,123.16
Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.
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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

     Criminal Case No. 19-cr-00098-CMA-1

     UNITED STATES OF AMERICA,

           Plaintiff,

     v.

     LEONARD LUTON,

           Defendant.


                                  NOTICE OF APPEAL


           Notice is hereby given that Leonard Luton, Defendant, in the above named

     case, hereby appeals to the United States Court of Appeals for the Tenth Circuit

     from the order of Judgement in a Criminal Case [Doc. No. 151] entered in this

     action on the 10th day of August, 2021.

           Dated this 11th day of August, 2021.

                                               Respectfully Submitted,


                                               SCABAVEA & ASSOCIATES, LLC


                                               s/ Mark E. Scabavea
                                               MARK EDWARD SCABAVEA
                                               301 Sheridan Blvd.
                                               Lakewood, Colorado 80226
                                               Office: (707) 592-5571
                                               markscabavea@icloud.com




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                          CERTIFICATE OF SERVICE (CM/ECF)

            I hereby certify that on August 11, 2021, I electronically filed the foregoing
     Notice of Appeal with the Clerk of the Court using the CM/ECF system and/or
     electronic mail, which will send electronic notification to all the parties.

     Martha Ann Paluch
     martha.paluch@usdoj.com

                                               s/ Mark E. Scabavea
                                               MARK EDWARD SCABAVEA
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